       Case 2:09-cr-02075-EFS            ECF No. 306         filed 04/20/16       PageID.1261 Page 1 of 2
PROB 12C                                                                                   Report Date: April 19, 2016
                                        United States District Court                                      FILED IN THE
                                                                                                      U.S. DISTRICT COURT
                                                                                                EASTERN DISTRICT OF WASHINGTON
                                                        for the
                                                                                                  Apr 20, 2016
                                         Eastern District of Washington                              SEAN F. MCAVOY, CLERK


                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Lance Frank                                Case Number: 0980 2:09CR02075-EFS-1
 Address of Offender:                    , Wapato, Washington 98951
 Name of Sentencing Judicial Officer: The Honorable Edward F. Shea, Senior U.S. District Judge
 Date of Original Sentence: January 27, 2011
 Original Offense:        Crime on Indian Reservation, Voluntary Manslaughter and Aiding and Abetting, 18
                          U.S.C. §§ 1153, 1112 and 2
 Original Sentence:       Prison 90 months;                   Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     James Goeke                         Date Supervision Commenced: April 1, 2016
 Defense Attorney:        Federal Defender’s Office           Date Supervision Expires: March 31, 2019


                                          PETITIONING THE COURT

                To issue a summons.

The probation officer believes that the offender has violated the following conditions of supervision:


Violation Number        Nature of Noncompliance

           1            Mandatory Condition # 2: The defendant shall not commit another Federal, state, or local
                        crime.

                        Supporting Evidence: On April 15, 2015, Mr. Frank was arrested for disorderly conduct
                        and threats to law enforcement by the Yakama Nation Police Department, relative to
                        incident report number 16-002825.

                        According to the Yakama Nation Police’s narrative in the incident report, Mr. Frank was
                        contacted outside of his home on 404 Huli Circle, in Wapato, Washington. At that time he
                        was yelling with his fist clinched as if he was going to fight another individual. It is reported
                        Mr. Frank was not cooperative during this encounter and he was verbally abusive and
                        resistive toward the arresting officers. This caused Mr. Frank to be restrained by force. It
                        was also reported Mr. Frank threatened to kill both responding officers multiple times during
                        the encounter.
           2            Special Condition # 19: You shall abstain from alcohol and shall submit to testing
                        (including urinalysis and Breathalyzer), as directed by the supervising officer, but no more
                        than six tests per month, in order to confirm continued abstinence from this substance.
     Case 2:09-cr-02075-EFS          ECF No. 306       filed 04/20/16      PageID.1262 Page 2 of 2
Prob12C
Re: Frank, Lance
April 19, 2016
Page 2

                     Supporting Evidence: On April 15, 2015, Mr. Frank was observed by the Yakama Nation
                     Police to be under the influence of alcohol.

                     The responding officer in the above-noted supporting evidence made contact with a shirtless
                     male who was intoxicated and yelling. It was reported that during the arrest, Mr. Frank was
                     highly intoxicated with slurred speech and blood shot, watery eyes. The officer noted Mr.
                     Frank also could not keep a steady balance when walking toward the officer’s patrol car.

The U.S. Probation Office respectfully recommends the Court issue a summons requiring the offender to appear
to answer to the allegations contained in this petition.

                                       I declare under penalty of perjury that the foregoing is true and correct.
                                                         Executed on:     April 19, 2016
                                                                          s/Jonathan G. Barcom
                                                                          Jonathan G. Barcom
                                                                          U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ X]     The Issuance of a Summons
 [ ]      Other

                                                                          Signature of Judicial Officer

                                                                               04/20/2016
                                                                          Date
